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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )
                                            )
       v.                                   )        CRIMINAL NO. 21-cr-246 (ABJ)
                                            )
                                            )
EDWARD BADALIAN                             )

                      Defendant’s Unopposed Motion for Bench Trial
Edward Badalian, through his Attorney, Robert M. Helfend, respectfully files this Motion for a
Bench Trial on the above-captioned matter.
Undersigned counsel conferred with AUSA Paschall who does not oppose this motion.


Dated: February 8, 2023                             Respectfully submitted,
                                            By:          /s/
                                                    Robert M. Helfend
                                                    California Bar No. 113380
                                                    23838 Pacific Coast Hwy., No. 309
                                                    Malibu, CA 90265
                                                    310-456-3317
                                                    rmhelfend@gmail.com
                                            By:      _____/s/_________
                                                     Kira Anne West
                                                     DC Bar No. 993523
                                                     712 H Street N.E., Unit 509
                                                     Washington, D.C. 20002
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                               CERTIFICATE OF SERVICE

       I hereby certify on the 8th day of February, 2023, a copy of same was electronically filed

using the CM/ECF system and thus delivered to the parties of record and in pursuant to the rules

of the Clerk of Court.

                                            /s/ Robert Helfend




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